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                 EXHIBIT 18
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                     EMMET, MARVIN & MARTIN, LLP
                                 COUNSELLORS AT LAW
                                                                                                  John Dellaportas
                                  120 Broadway 32nd Floor                                                  Partner
                                New York, New York 10271                                         Tel: 212-238-3092
                                       212-238-3000                      Fax: 212-238-3100 Fax (alt.) 212-406-6953
                                                                                    jdellaportas@emmetmarvin.com
                                 www.emmetmarvin.com

                                                June 1, 2020
  Via Email

  Eric D. Herschmann
  Kasowitz Benson Torres LLP
  1633 Broadway
  New York, New York 10019

                    Re: In re Orly Genger, Case No.: 19-13895-jlg

  Dear Mr. Herschmann:

          Per your request, below is list of persons whom we believe received those pages
  Vb_] dXU TURd_b Eb\i =U^WUbpc bUTQSdUT `bU-^e`dYQ\ QWbUU]U^d %dXU nGUTQSdUT Pre-Nupo&
  that Magistrate Judge Freeman directed the debtor to produce to us by Orders dated January
  17 and 29, 2019. See Genger v. Genger, Case 1:17-cv-08181-VSB-DCF, Docs. 163, 174
  (annexed hereto as Exhibits A and B). This list is based on a reasonable investigation, and
  subject to supplementation should additional facts become known to us.

           E^ dXU cQ]U TQic TURd_bpc S_e^cU\ `b_TeSUT dXU Redacted Pre-Nup to us,
            pursuant to Section 6(a) of the February 7, 2019 Protective Order (annexed
            hereto as Exhibit C), we provided it to our client Sagi Genger.

           On April 2, 2019, pursuant to Section 6(b) of the Protective Order, I provided
            the Redacted Pre-Nup to William Petit and Jennifer Barks of Kelley Drye &
            Warren LLP, counsel of record for Sagi in the proceeding you filed in Texas
            seeking to quash HQWYpc judgment enforcement subpoena.

           On March 7, 2019, the Redacted Pre-Nup was marked as Exhibit 3 at the
            TURd_bpc TU`_cYdY_^ and, pursuant to Section 6(f) of the Protective Order, I
            provided a copy to the court reporter.

           On April 8, 2019, pursuant to Section 6(g) of the Protective Order, the
            Redacted Pre-Nup was filed under seal with the U.S. District Court for the
            Western District of Texas, as Exhibit C to HQWYpc _``_cYdY_^ d_ your motion
            to quash HQWYpc ZeTW]U^d U^V_bSU]U^d ceR`_U^Q.

           On June 11, 2019, pursuant to Section 6(g) of the Protective Order, the
            Redacted Pre-Nup was filed under seal with the U.S. District Court for the




                           NEW YORK, NEW YORK l MORRISTOWN, NEW JERSEY
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  EMMET, MARVIN & MARTIN,   LLP                                                                2


            H_edXUb^ :YcdbYSd _V DUg M_b[' Qc ;hXYRYd N d_ HQWYpc ]_dY_^ to undo the
            TURd_bpc VbQeTe\U^d S_^fUiQ^SUc/encumbrances to the Brosers, Arie Genger
            and yourself %dXU nIeb^_fUb C_dY_^o&.

           On July 25, 2019, pursuant to Section 6(b) of the Protective Order, after the
            :URd_bpc RQ^[be`dSi VY\Y^W in Texas, I provided the Turnover Motion to
            Sabrina Streusand of Streusand Landon Ozburn Lemmon LLP, Sagipc
            counsel of record in the bankruptcy. Thereafter, Ms. Streusand shared the
            Turnover Motion with her partner Stephen Lemmon, also counsel of record
            for Sagi, and Arlana Prentice, a paralegal assisting them.

           On August 8-9, 2019, pursuant to 11 U.S.C. § 107(c)(3)(A) and subject to
            the confidentiality provisions of 11 U.S.C. § 107(c)(3)(B), Ms. Streusand
            provided the Turnover Motion to the then-Chapter 7 Bankruptcy Trustee,
            Ron Satija, and his counsel Brian Cummings.

           On September 11, 2019, Ms. Streusand provided the Turnover Motion, on a
            confidential basis, to Jay Ong and Grant Beiner of Munsch Hardt Kopf &
            Harr, P.C., who were assisting her in assembling the exhibits to be filed with
            HQWYpc ]_dY_^ d_ TYc]Ycc) Mr. Ong has since signed the Confidentiality
            Agreement (annexed hereto as Exhibit D).

           On October 18, 2019, pursuant to Section 6(g) of the Protective Order, the
            Redacted Pre-Nup was filed under seal with the U.S. Bankruptcy Court for
            the Western District of Texas, as Exhibit I d_ dXU HQWYpc objection thereto (the
            n9019 Objectiono&)

           On October 22, 2019, pursuant to 11 U.S.C. § 107(c)(3)(A) and subject to
            the confidentiality provisions of 11 U.S.C. § 107(c)(3)(B), Ms. Streusand
            provided the 9019 Objection to Shane Tobin, Esq., U.S. Department of
            Justice, Office of the U.S. Trustee.

           On October 30, 2019, following Judge Davispc confirmation of the partiesp
            understanding that cYW^Qd_bYUc d_ ndXU S_^VYTU^dYQ\Ydi QWbUU]U^d m cX_e\T
            XQfU QSSUcc m d_ dXU T_Se]U^dc' [on] whatever terms the confidentiality
            QWbUU]U^d QbUo (10.23.19 Tr. at 21:14-19, annexed hereto as Exhibit E), Ms.
            Streusand provided the 9019 Objection to Shelby Jordan, counsel to Dalia
            Genger, by email to his assistant Chrystal Madden.

           Lastly, on April 24, 2020, pursuant to Section 6(g) of the Protective Order,
            the Pre-Nup was filed under seal with the U.S. Bankruptcy Court for the
            Southern District of New York, Qc ;hXYRYd ;; d_ HQWYpc Q]U^TUT ]_dY_^ d_
            dismiss. In connection therewith, Thomas Pitta and Beth Khinchuk of
            ;]]Ud' CQbfY^ $ CQbdY^' BBF' HQWYpc S_e^cU\ _V bUS_bT' Q\c_ XQT QSSUcc)
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  EMMET, MARVIN & MARTIN,   LLP                                              3


                                       Sincerely,




                                       John Dellaportas
  Enclosures
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         EXHIBIT D
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